       Case 1:10-cv-00008-DPM Document 137 Filed 09/27/13 Page 1 of 14




              IN THE UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF ARKANSAS
                      NORTHERN DIVISION


MISSOURI & NORTHERN ARKANSAS
RAILROAD COMPANY, INC.                                           PLAINTIFF

v.                             No. 1:10-cv-8-DPM

ENTERGY ARKANSAS, INC.                                         DEFENDANT


                                    ORDER

      1.   Summary.      The case is down to MNA' s requests for costs,

prejudgment interest, and attorney's fees.     Considering all the material

circumstances, and the governing law, the Court makes these awards:

            Costs                         $ 6,814.74
            Prejudgment Interest          $118,331 .25
            Attorney's Fees               $148,008.88

                              Total       $273,154.87

This is less than the Railroad seeks but more than Entergy suggests. Here is

the Court's reasoning.

      2. Costs. MNA prevailed. Under Rule of Civil Procedure 54(d)(1), as

Entergy recognizes, the Railroad is entitled to recover certain costs incurred

as specified by 28 U.S.C. § 1920.
        Case 1:10-cv-00008-DPM Document 137 Filed 09/27/13 Page 2 of 14




      The $350.00 federal filing fee is agreed and allowed. 28 U.S.C. § 1920(1).

Though more details would have been helpful, the Court allows $278.25 in

witness fees for our trial. 28 U.S. C. § 1920(3). All service fees are disallowed

because the Railroad has not shown payment to the U.S. Marshal. The statute

allows reimbursement only for service by the Marshal. 28 U.S.C. § 1920(1);

Crues v. KFC Corp., 768 F.2d 230, 234 (8th Cir. 1985).

      The Court allows$ 4,621.65 for deposition-related expenses. 28 U.S.C.

§ 1920(2). Herrin-related expenses are disallowed. He did not testify at the

trial and the Court has no memory of his deposition transcript being used.

While not dispositive, that is an important circumstance. Entergy advised the

Railroad about his lack of knowledge before the deposition.             Compare

Koppinger v. Cullen-Schiltz & Associates, 513 F.2d 901, 911 (8th Cir. 1975). This

potential witness could have been handled informally without the expense of

a full-blown deposition. MNA has not established that the deposition was

reasonably necessary. The Richardson-related expenses are allowed over

Entergy' s objection- he was a key witness, and MNA needed and used these

transcripts, even though Entergy took the two depositions. All Hesse-related

deposition expenses are allowed, and Entergy's objections overruled, for

similar reasons.

                                      -2-
       Case 1:10-cv-00008-DPM Document 137 Filed 09/27/13 Page 3 of 14




      The Court agrees, mostly, with Entergy on copies and exemplification.

$1,564.84 is allowed for copies, 28 U.S.C. § 1920(4), which includes exhibit

boards but excludes copying expenses from the nonsuited case that yielded

no benefit in the federal case. (The Court applauds the Railroad's lawyers for

charging $.10 a copy, instead of the inflated amounts sometimes charged and

sought these days.) The video-service fees are disallowed. As Entergy points

out, more than $1,000.00 of this request was related to the pretermitted state

trial. The approximately $5,000.00 in services related to our trial, though

convenient for counsel and sometimes helpful to the jury, was not essential.

This slip-and-fall case was not the kind of dispute where third-party

technology services were necessary to help the jury understand the proof or

the issues. Though our Court of Appeals has not spoken directly on this

point, the weight of authority is against allowing this kind of expense as a

matter of course. Wheeler v. Carlton, 2007 WL 1020481, at *10-11 (E.D. Ark.)

(collecting cases). This Court has allowed it in an extraordinary circumstance

involving television news reports. Duren v. E.I. Dupont De Nemours and Co.,

4:09-cv-713, No. 147 (16 August 2012). No such circumstance exists here.




                                     -3-
        Case 1:10-cv-00008-DPM Document 137 Filed 09/27/13 Page 4 of 14




       3. Prejudgment Interest. It is common ground that MNA is entitled to

some award as a matter of substantive Arkansas law. The Railroad prevailed

on its contractual indemnity claim, and it should be made whole for the

settlement with Leal, and his medical bills, all of which was paid some time

ago.    "Prejudgment interest is compensation for recoverable damages

wrongfully withheld from the time of the loss until judgment." Reynolds

Health Care Services, Inc. v. HMNH, Inc., 364 Ark. 168, 180, 217 S.W.3d 797, 807

(2005). There are two points of contention: first, whether the amount of

prejudgment interest should be docked because it took so long to adjudicate

this case, and in particular because MNA nonsuited instead of going to trial

in the prior state court proceeding; and second, the proper rate of interest.

       The Court rejects Entergy' s argument for an across-the-board reduction

based on foot dragging. This case has taken a long time to resolve. The

Railroad's nonsuit was one reason why. As MNA notes, however, that

strategic choice worked out well for the Railroad. More importantly, the

nature of prejudgment interest cuts hard against any delay-based reduction.

The Arkansas cases make plain that it's an either/ or proposition. "Where

prejudgment interest may be collected at all, the injured party is always


                                      -4-
       Case 1:10-cv-00008-DPM Document 137 Filed 09/27/13 Page 5 of 14




entitled to it as a matter of law." Reynolds Health Care, 364 Ark. at 180, 217

S.W.3d at 807. While Entergy concedes this law, its request for an equitable

reduction in the circumstances presented -lengthy proceedings and a restart

after the nonsuit-would erode the essence of this remedy. The course of this

litigation presented risks to both sides. MNA is entitled to recover for being

out of pocket since 2005 when it paid Leal.

      The proper rate is a vexed question with no clear answer. We face a

contract with no agreed rate. Entergy is correct: the constitutional source of

the 6% rate disappeared in January 2011, when Amendment 89 to the

Arkansas Constitution became effective. ARK. CONST. amend. 89, §§ 13 & 14.

This Court entered its Judgment twenty-two months later, in November 2012.

MNA urges the Court to use the 6% rate, relying on the long line of Arkansas

cases doing so. E.g., Wooten v. McClendon, 272 Ark. 61, 63, 612 S.W.2d 105, 106

(1981); Shepherd v. State Auto Property and Casualty Insurance Co., 312 Ark. 502,

516,850 S.W.2d 324,331 (1993). The few post-repeal decisions, however, have

not wrestled with the legal effect of the repeal. E.g., Razorback Concrete Co. v.

Dement Construction Co., LLC, 2012 WL 1983346, at *2 (E.D. Ark.); Terra

Renewal, LLC v. McCarthy, 2012 WL 2805035, at *4 (E.D. Ark.).           Entergy


                                       -5-
        Case 1:10-cv-00008-DPM Document 137 Filed 09/27/13 Page 6 of 14




suggests applying the federal post-judgment rate. NQ 135 at 4-5. Which rate

applies makes about an $80,000.00 difference. Compare NQ 129 at 3, with NQ 135

at 2 and Exhibit B.

      There has been one development since the parties briefed this issue: Act

1223 of 2013. Now by statute, instead of constitutional provision, "[t]he rate

of interest under a contract in which a rate of interest is not specified is six

percent (6%) per annum." ARK. CODE ANN.§ 4-57-101(d). The new Act is

silent about its retroactive effect. It was passed in April 2013; lacking an

emergency clause, it became effective in August 2013. Littles v. Flemings, 333

Ark. 476,484, 970 S.W.2d 259, 264 (1998). The rule is that statutes apply only

prospectively, with some exceptions. Ibid; see generally Brandon J. Harrison

and Hans J. Hacker, Arkansas's Retroactive-Legislation Doctrine, 64 ARK L. REV.

903 (2011). The new statute therefore provides no definitive answer about

Entergy' s contractual interest obligation to MNA.

      For three reasons, the Court will use the 6% rate. First, courts have been

using this rate for more than a century. E.g., St. Louis, Iron Mountain, and

Southern Railway Co. v. Biggs, 50 Ark. 169, 176, 6 S.W. 724, 727 (1888). Parties

contract against the background of existing law. When MNA' sand Entergy' s


                                      -6-
        Case 1:10-cv-00008-DPM Document 137 Filed 09/27/13 Page 7 of 14




predecessors in interest made this contract in 1980, they would have known

that their silence about the interest rate for unpaid indemnity obligations

brought the 6% figure into their contract. Petty v. Missouri & Arkansas Railway

Co., 205 Ark. 990, 996, 167 S.W.2d 895, 898 (1943). Second, the new statute is

a telling development. The Court declines to enter the thicket of whether Act

1223 of 2013 was remedial, and thus applies retroactively as a matter of law.

E.g., Clevenger v. City oj Jonesboro, 2011 Ark. App. 579, at 3-4, 2011 WL 4585587,

at *1-2. At a minimum, the General Assembly's restoration of the 6% rate

reflects Arkansas's public policy on this question. Medical Liability Mutual

Insurance Co. v. Alan Curtis Enterprises, Inc., 373 Ark. 525, 529, 285 S.W.3d 233,

237 (2008). Third, any other rate would be nothing but an equitable choice.

This Court must make Erie-educated predictions about unsettled state law,

and the 6% rate is one. No principled basis exists for adopting a different

rate. Contracts are about settling expectations and providing certainties. The

rate of prejudgment interest for an unfulfilled promise needs certainty too.

This January 2011 to August 2013 gap in Arkansas law is best filled by using

the traditional6% rate.



                                       -7-
        Case 1:10-cv-00008-DPM Document 137 Filed 09/27/13 Page 8 of 14




      4. Attorney's Fees. Arkansas law governs. ARK. CODE ANN.§ 16-22-308;

All-Ways Logistics, Inc. v. USA Truck, Inc., 583 F.3d 511, 520-21 (8th Cir. 2009).

The path-marking precedent is Chrisco v. Sun Industries, Inc., 304 Ark. 227,229-

30, 800 S.W.2d 717, 718-19 (1990). The statute says the Court "may" award a

"reasonable" attorney's fee to the prevailing party in a contract case like this

one. ARK. CODE ANN.§ 16-22-308. On all this, the parties agree.

      MNA requests $296,017.75- the total amount the Railroad paid all

counsel in the indemnity litigation, state and federal, less fees related to the

unsuccessful claims for implied indemnity and contribution.              Entergy

responds that, though some fee is reasonable in the circumstances, the amount

should be in the neighborhood of $88,000.00.            Applying Chrisco, and

considering all material circumstances, the Court has no difficulty concluding

that a fee is appropriate. The real question is the amount. To inform its

discretion, the Court has studied the parties' submissions, reviewed the

docket, and reflected on all counsels' work on paper and in the courtroom.

      Some of the Chrisco considerations either don't apply or are at the

margin. No contingency fee was involved. Compare All-Ways, 583 F.3d at 521.


                                       -8-
        Case 1:10-cv-00008-DPM Document 137 Filed 09/27/13 Page 9 of 14




All hourly rates charged are- Entergy acknowledges and the Court agrees-

customary and fair. No argument is made that MN A's counsel had to pass on

other work to handle this case. Compare Chrisco, 304 Ark. at 229, 800 S.W.2d

at 719. Neither this dispute nor the Railroad imposed extraordinary time

limitations on counsel that should be reflected in an extraordinary fee. Ibid.

The Railroad recovered $268,233.29. This is a substantial sum, though not a

wow number, like the multi-million dollar recovery in All-Ways. 583 F.3d at

513.

       Several circumstances support a healthy fee. The experience and ability

of MNA's lead co-counsel is unquestioned by Entergy. Rightly so. The case

was, for example, exceptionally well tried.      Perhaps this is because the

expertise and professionalism of Mr. Brown and Mr. Stroud on behalf of the

Railroad were equaled by Mr. Schlumberger and Mr. Falasco for Entergy.

Lead counsels' good lawyering supports a substantial fee. Chrisco, 304 Ark.

at 229, 800 S.W.2d at 718. The result does too-counsel got a complete

recovery on the contract for MNA. The Court would be remiss, however, if

it did not give a bit of weight here to the jury's verdict. The Railroad's full


                                      -9-
         Case 1:10-cv-00008-DPM Document 137 Filed 09/27/13 Page 10 of 14




recovery came on JNOV, in the old phrase, while the jury divided

responsibility 50/50. MNA paid all the bills without dispute, which also

weighs for their reasonableness.

        Other Chrisco considerations weigh against awarding the Railroad

almost $300,000.00 in fees.

        First, this was a "relatively simple" case. Chrisco, 304 Ark. at 230, 800

S.W.2d at 719. Leal slipped and fell in the mud while trying to close a stuck

gate.    The parties' indemnity contract was stipulated. Yes, there was

uncertainty and contention about Entergy' s property line, exactly what

happened that night, and exactly where. But there was nothing factually

complex about this case. The legal issues were mostly straightforward too,

albeit with a tangled point here and there. It took awhile for everyone,

including the Court, to get their hands around the indemnity-agreement cases,

the potential FELA complication, and the duty issues. But all of this was, at

most, moderate lifting.

        Second, the nonsuit. It is not reasonable for Entergy to have to pay for

more work than was necessary- needed in an objective sense- to handle the


                                       -10-
      Case 1:10-cv-00008-DPM Document 137 Filed 09/27/13 Page 11 of 14




case well. Chrisco,304 Ark. at 229,800 S.W.2d at 718. That would be the result

if the Court did not discount for the nonsuit. Voluntarily dismissing and

refiling the case was part of the recipe for the Railroad's full recovery. No one

can know what would have happened in state court. We do know that, after

motion practice, this case looked exactly the same on the first day of the

federal trial as it did on the first day of the state trial right before the nonsuit.

The federal case was essentially a re-run.

      The parties recycled         discovery,   which was appropriate and

commendable. But the other work during the state proceedings did not

translate into the efficiencies in the federal case one would expect. Consider

the summary-judgment briefing. While different procedural law applied, the

substantive law about the indemnity contract and the facts remained the

same. Yet the billing shows a from-the-ground-up effort the second time

around. NQ 129-1 at 23-24. The jury instructions are another example. NQ 129-

1 at 27-28.   Having been done once, they needed supplementation, not

recreation.




                                        -11-
      Case 1:10-cv-00008-DPM Document 137 Filed 09/27/13 Page 12 of 14




      Third, the billing reflects much wheel spinning on discovery. NQ 129-1

at 10-19. The Court takes the Railroad at its word-in hindsight, Entergy

could and should have been more responsive, more promptly. Even so, this

case was factually simple.     The Court agrees with Entergy' s diagnosis:

inefficiency by inexperienced younger lawyers for the Railroad. We've all be

there when we started practicing. The largely unsuccessful discovery-related

motion practice in the state proceeding supports a reduction too. It is not

reasonable for a losing party to pay for battles it didn't lose. Evaluating the

discovery-based part of the bills in terms of the lawyers' experience, factual

complexity, and results, the Railroad's request needs reduction. Chrisco, 304

Ark. at 229-30, 800 S.W.2d at 718-19.

      Fourth, too much time was spent on some projects. For example, a

memo about the clear and settled Arkansas law on attorney's fees should not

have taken eight hours. NQ 129-1 at 30. See the statute, the Chrisco factors,

and the All-Ways case on the standard of review. The Railroad covered this

ground well in two paragraphs in its brief. NQ 129 at 3 & 4-5.

     Fifth, the fees incurred reflect missed opportunities for collaboration and

compromise, with some tendency toward confrontation. The approximately



                                     -12-
      Case 1:10-cv-00008-DPM Document 137 Filed 09/27/13 Page 13 of 14




$4,000.00 incurred on the Herrin deposition is one example. All the back and

forth about deposition designations before trial is another.        The mostly

unsuccessful motion practice about the parties' dueling experts also comes to

mind. The Court knows it takes two to have a disagreement. Mindful that the

Court was not there, and that second-guessing is easy, the Court concludes

nonetheless that a discount is appropriate for some needless contention. This

is another aspect of how much time was appropriate over all. Chrisco, 304

Ark. at 229, 800 S.W.2d at 718.

      In sum, a substantial attorney's fee is reasonable but the amount sought

is just too much considering all the material circumstances. The Court reduces

the amount requested by 50% and awards MNA a reasonable attorney's fee

of $148,008.88.

                                      ***

      Motion for prejudgment interest and fees, NQ 128, granted in part and

denied in part. Bill of costs, NQ 127, allowed in part and rejected in part. The

Court apologizes to the parties for its delay in deciding these issues. The

Court will enter an Amended Judgment covering all these awards.




                                     -13-
Case 1:10-cv-00008-DPM Document 137 Filed 09/27/13 Page 14 of 14




So Ordered.


                                    D.P. Marshall Jr.
                                    United States District Judge




                             -14-
